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UN|TED STATES DlSTRlCT COURT
WESTERN DlSTRlCT OF TENNESSEE
EASTERN DlVlSlON

UN|TED STATES OF AMER|CA

-v- 04-10061-02-T

 

R|CK¥ P|CKARD
Diane Smothers FPD
Defense Attorney
109 South Highland, Ste. B-8
Jackson, TN 38301

 

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the Superceding indictment on February 25,
2005. Accordingly, the court has adjudicated that the defendant is guilty of the following

offense(s):
Title & Section Nature of Offense Date Offense Count
Conc|uded Number(s|
21 U.S.C. § 846 Conspiracy to |V|anufacture and 08124!2004 18

Distribute Methamphetamine

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Nlandatory
Victims Restitution Act of 1996

Count(s) 2S, 38 and 48 dismissed on motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by thisjudgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 03/27/1971 June 09, 2005
Deft’s U.S. Nlarshal No.: 19656-076

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Thfs document entered on the docket fgeet la cin§llence
with Ruie 55 end!or 32{b) FFlCrP on F l

 

 

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Defendant’s lVlailing Address:
72 East Elm Street
Alamo, TN 38001

JA S D. TODD
C F UN|TED STATES DlSTRlCT JUDGE

June 13 ,2005

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Case No: 1:04cr10061-02-T Defendant Name: Ricky Pickard Page 3 of 6
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 46 Months as to Count (One) 1 of the Superseding
|ndictment.

The Court recommends to the Bureau of Prisons: Defendant serve sentence at an
institution where defendant can receive drug treatment and drug counseling, and as close
to defendants home as possible

The defendant is remanded to the custody of the United States Nlarshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES lVlARSl-lAL
By:

 

Deputy U.S. l\/larshal

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Case No: 1:04cr10061-02-T Defendant Name: Ric|<y Pickard Page 4 of 6

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years as to Count (One) 1 of the Superceding lndictment.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised releasel the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ocher and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, usedl
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ocher;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
iaw enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. lf this judgment imposes a Hne or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for
substance abuse as directed by the United States Probation Oftice.

2. The defendant shall cooperate in the collection of DNA as directed by the United States
Probation Office.

CR|N||NAL MONETARY PENALT|ES

The defendant shall paythefoilowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00

The Special Assessment shall be due immediately.

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FlNE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

SDISTRICT COURT - WESRNTE D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 176 in
case 1:04-CR-10061 Was distributed by faX, mail, or direct printing on
J unc 13, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DlSTRlCT COURT

